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IN THE UNITED s'rATEs DIsTRiC'r COURT 6

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cARLINE CRAWFoRD, f “*S
Plaimifr,
v. NO. 04-2720-B/P

MUVICO THEATERS, INC. ,

Defendant.

 

ORDER ()F REFERENCE

 

Before the court is Plaintiff’s Motion for Jury Trial filed on April 28, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order Will
constitute a Waiver of that objection. w Rule 72(a), Federal Rules of Civil Procedure.

‘D
IT IS SO ORDERED this l day of May, 2005 .

// WQL</\

J. DANIEL BREEN
NIT `D STATES DISTRICT JU GE

 

Thls document entered on the docket sheet m compliance
with Rula 58 andlor 79{a) FHCP on ff

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02720 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

